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Case 2:19-cr-20429-DML-DRG ECF No. 14, PagelD.36 Filed 06/26/19 Page 1 of 4 4

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA, Case:2:19-cr-20429 |
Judge: Lawson, David M.

+ us MJ: Grand, David R.
Plaintiff, Filed: 06-26-2019 At 02:11 PM
INFO USA V. GIGGIE (kb)

 

vs.
ROBERT BERNARD GIGGIE, VIOLATION:
18 U.S.C. § 922(0)
Defendant.
/
INFORMATION

The United States Attorney charges that:

COUNT ONE
(18 U.S.C. § 922(0) — Illegal Possession of a Machine Gun)

On or about September 30, 2018, in the Eastern District of
Michigan, the defendant, ROBERT BERNARD GIGGIE, did knowingly
possess a machinegun, that is, a .223 Remington caliber/5.56x45mm
Bushmaster rifle, Model M178, capable of operating as a fully automatic
rifle, in violation of Title 18, United States Code, Sections 922(0) and

924(a)(2).
Case 2:19-cr-20429-DML-DRG ECF No. 14, PagelD.37 Filed 06/26/19 Page 2 of 4

FORFEITURE ALLEGATION

The allegations of Count One of this Indictment are re-alleged and
by this reference fully incorporated herein for the purpose of alleging
forfeitures to the United States of America of certain property in which
the Defendant has an interest, pursuant to the provisions of Title 18,
United States Code, Section 924(d)(1), and Title 28, United States Code,
Section 2461(c).

Upon conviction of the offense alleged in Count One, the defendant
shall forfeit to the United States, pursuant to Title 18, United States
Code, Section 924(d), and Title 28, United States Code, Section 2461(c),
any firearm and ammunition involved or used in the knowing
commission of the offense.

The property that is subject to forfeiture includes, but is not limited
to, the following: one .223 Remington caliber/5.56x45mm Bushmaster

rifle, Model M17S.
Case 2:19-cr-20429-DML-DRG ECF No. 14, PagelD.38 Filed 06/26/19 Page 3 of 4

All pursuant to Title 18, United States Code, Section 924(d)(1), as
made applicable by Title 28, United States Code, Section 2461(c).

MATTHEW SCHNEIDER
United States Attorney

Benjamin C. Coats Cathleen M. Corken
Assistant United States Attorney Chief, National Security Unit

 

 

Date: 6/26/2019
Case 2:19-cr-20429-DML-DRG ECF No. 14, PagelD.39 Filed 06/26/19. ‘Rage “4, of, 4a3

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Case:2:19-cr-20429
Judge: Lawson, David M.

 

 

United States District Court imi MJ: Grand, David R.
Eastern District of Michigan Criminal Case Cover Filed: 06-26-2019 At 02:11 PM
INFO USA V. GIGGIE (kb)

 

NOTE: it is the responsibility of the Assistant U.S. Attorney signing this form to complete .

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Companion Case Number:

 

This may be a companion case based upon LCrR 57.10 (b)(4)': Judge Assigned:

Ll Yes No AUSA’s Initials: BCC

Case Title: USA v. Robert Bernard Giggie

 

 

 

 

County where offense occurred : Oakland County

Check One: [X]Felony L_]Misdemeanor -CPetty
Indictment/ Information --- no prior complaint.
Indictment/__v_Information --- based upon prior complaint [Case number: 18-mj-30516 ]
Indictment/ Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].

 

 

Superseding to Case No: Judge:

 

 

[ ]Corrects errors; no additional charges or defendants.
[ Involves, for plea purposes, different charges or adds counts.
[_]Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.
June 26, 2019 By &s
Date Benjamin he. Coats

Assistant United States Attorney
211 W. Fort Street, Suite 2001
Detroit, MI 48226-3277
Phone: (313) 226-9734
Fax: (313) 226-4678
E-Mail address: Benjamin.Coats@usdoj.gov
Attorney Bar #:

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases
even though one of them may have already been terminated.
5/16
